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              EXHIBIT 11
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    Technology

    Trump Campaign Urges Supporters to Back
    TikTok Ban in Online Ads
    By Kari Soo Lindberg
    July 18, 2020, 1:01 AM PDT


        Ads are targeting supporters in battleground election states
        Teens on TikTok signed up to Trump rally with no plans to go


    Donald Trump’s presidential campaign is paying for ads on Facebook Inc.’s social media
    platforms urging supporters to sign a petition banning Bytedance Ltd.’s TikTok, as the White
    House ramps up rhetoric to restrict the video app in the U.S.


    “TikTok has been caught red handed by monitoring what is on your phone’s Clipboard,” read all
    the ads that are running on Facebook and Instagram. Viewers are encouraged to “sign the
    petition now to ban TikTok,” according to the ads, which direct users to a survey where they
    have to input personal information including their email address and mobile number.


    The ads, which appeared in users’ feeds from Friday, come just weeks after teens on TikTok
    were said to have played a role in contributing to lower-than-expected attendance for President
    Trump’s campaign rally in Tulsa. Prior to the event, which Trump boasted of having nearly 1


https://www.bloomberg.com/news/articles/2020-07-18/trump-campaign-urges-supporters-to-back-tiktok-ban-in-online-ads   1/3
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    million sign-ups, many teenagers posted videos of their rally registrations with the intention of
    not showing up.




       Trump campaign ad on Facebook. Source: Facebook Ads Library


    The ads were paid for by the Trump Make America Great Again Committee and primarily target
    users aged 18 to 64, with the largest percentage of views seemingly coming from election
    battleground states such as Texas and Florida, according to Facebook’s ad library.


    Trump’s administration has also been involved in attacking TikTok and the president has
    suggested that banning the app, owned by one of China’s biggest tech ﬁrms, could be one way to

https://www.bloomberg.com/news/articles/2020-07-18/trump-campaign-urges-supporters-to-back-tiktok-ban-in-online-ads   2/3
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    retaliate against China’s approach to tackling the coronavirus pandemic.




    U.S. Secretary of State Michael Pompeo urged Americans not to download the app unless they
    want their personal information falling into “the hands of the Chinese Communist Party.” In
    October, the U.S. Senate called for an assessment of the national security risks posed by TikTok
    and other China-based content platforms. The company says American user data is stored in
    servers in the U.S. and Singapore, not China.



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